Case 8:16-ap-01114-ES Doc19-3 Filed 10/04/16 Entered 10/04/16 17:25:35 Desc
Exhibit3 Page 1 of 4

Exhibit 3
Oo 8 DO UW & BW NF

pk wrekmtfetekd
yee RPPRBRBRBRBSEeREIREARBESBHE ES

Case 8:16-ap-01114-ES Doc19-3 Filed 10/04/16 Entered 10/04/16 17:25:35
Exhibit3 Page 2 of 4
MARCEREAU & NAZIF
Robert H. Marcereau (SBN 211534)
Sy Nazif (SBN 228949)
26000 Towne Centre Drive, Suite 230
Foothill Ranch, CA 92610
Tel: 549} 531-6500
Fax: (949) 531-6501
ATTORNEYS FOR PLAINTIFFS
Kelli Peters, Bill Peters and MINOR 1
SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF ORANGE
KELL PETERS, an individual, BILL Case No. 30-2012-00588580-CU-PO.CIC
PETERS, an individual, and JANE DOE, a Assigned to Judge Geoffrey T. Glass
minor child, by and through her guardian ad Department C-32
litem, Kelli Peters
Plaintiff, STIPULATION AND [PROPOSED]
vs, ORDER RE: DEFENDANT’S LIABILITY

FOR (1) INTENTIONAL INFLICTION
JILL B. EASTER, an individual, KENT W, OF EMOTIONAL DISTRESS; and (2).
EASTER, an individual, and DOES 1 through | FALSE [IMPRISONMENT

20, inclusive,

Defendanis. oe
Date Action Filed: August 22, 2012

Trial Date: . February 1, 2016

Plaintiffs Kelli Peters, Bill Peters and Jane Doe, through their counsel of record, and
Defendants Kent W. Easter and Jill B. Easter, aka Eva Everheart, in pro per (collectively,
“Defendants”), hereby stipulate to the following:

(1) planted illegal drugs and drug paraphernalia in Kelli Peters’ car, including bags of

emotional distress to Kelli Peters, Bill Peters and Jane Doe.

Desc

1. This lawsuit arises from an incident in which Defendants, on or about February 16, 2011,

Vicodin, Percocet and Marijuana and a used Marijuana pipe; and (2) made a false report to
Irvine Police that they witnessed Kelli Peters driving erratically and hiding drugs in her car;
which (3) resulted in the detention and investigation of Kelli Peters by police and (4) caused

STIPULATION AND ORDER RE LIABILITY

Case 8:16-ap-01114-ES Doc19-3 Filed 10/04/16 Entered 10/04/16 17:25:35 Desc

Oo @ SN A tr BR HH Wm

mt etek eet
Oo oF ~~ HD ww & W NH mw

Exhibit3 Page 3 of 4

. Asa direct result of the conduct described in Paragraph 1, on or about October 30, 2013, Jill

B. Easter (ake Eva Everheart) pleaded guilty to felony fatse imprisonment of Kelli Peters
pursuant to Penal Code 236/237a in Orange County Superior Court, Case No. 12ZF0153.

. As a direct result of the conduct described in Paragraph 1, Kent W. Easter was convicted of

felony false imprisonment of Kelli Peters pursuant to Penal Code 236/237a on or about
September 10, 2014 in Orange County Superior Court, Case No, 12ZF0153.

. Based on the above, Defendants Kent W. Easter and Jill B. Easter (aka Eva Everheart),

jointly and severally, stipulate to liability in this lawsuit as follows:
a. Defendants stipulate to liability for the First Cause of Action in the First Amended
Complaint, “Intentional Infliction of Emotional Distress” as to all Plaintiffs (Kelli
Peters, Bill Peters, and their daughter Jane Doe); .
b. Defendants stipulate to liability as to the Third Cause of Action in the First Amended
Complaint, “False Imprisonment,” as to Plaintiff Kelli Peters.

. Defendants hereby waive any and all of their affirmative defenses in this lawsuit, including

but not limited to defenses based on statute of limitations, laches, superseding/intervening
cause, and failure to mitigate damages.

. Defendants stipulate that they are solely responsible for the tortious acts against Plaintiffs

described herein, and that no other persons assisted them or participated in these acts.

. Defendants stipulate that evidence regarding their motive, planning, and execution of their

torts, as well as the police investigation, criminal trial and conviction/guilty plea is relevant
and admissible for purposes of assisting the jury calculate damages in this case.

. Defendants stipulate that any judgments received by Plaintiffs in this case are non-

dischargeable pursuant to Bankruptcy Code 11 U.S.C. §523(a)(6), and that this Stipulation
is admissible in any bankruptcy proceedings.

. Plaintiffs agree to waive enforcement of the Court’s order compelling defendant Jill B.

Easter’s deposition in this case, and agree to forego the deposition of Jill Easter in this case.

10. Upon entry of this order, Plaintiffs will dismiss their cause of action for Negligent Infliction

of Emotional Distress with prejudice.

STIPULATION AND ORDER RE LIABILITY

Case 8:16-ap-01114-ES Doc19-3 Filed 10/04/16 Entered 10/04/16 17:25:35 Desc
Exhibit3 Page 4 of 4

